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                                                   FILED: December 18, 2014

                   UNITED STATES COURT OF APPEALS
                       FOR THE FOURTH CIRCUIT

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                                 No. 14-2366 (L)
                           (1:13-cv-00931-CMH-TCB)
                           (1:14-cv-00213-CMH-TCB)
                              ___________________

GEORGE RISHELL, on his own behalf and on behalf of those similarly situated

            Plaintiff - Appellee

 and

VICTORIA RHODES; QUINTON GARDNER; SELINA RIGGS; DONELL
ELLIS; KWAN JOHNSON

            Plaintiffs

v.

COMPUTER SCIENCES CORPORATION, a Foreign Profit Corporation

            Defendant - Appellant

                             ___________________

                                   No. 14-2376
                           (1:14-cv-00213-CMH-TCB)
                             ___________________

VICTORIA RHODES; QUINTON GARDNER; SELINA RIGGS; DONELL
ELLIS; KWAN JOHNSON

            Plaintiffs - Appellees

v.
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COMPUTER SCIENCES CORPORATION

             Defendant - Appellant

                              ___________________

                                   ORDER
                              ___________________

      The court consolidates Case No. 14-2366 and Case No. 14-2376. Entry of

appearance forms and disclosure statements filed by counsel and parties to the lead

case are deemed filed in the secondary case.

                                      For the Court--By Direction

                                      /s/ Patricia S. Connor, Clerk
